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 5                             UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                   ***

 8   UNITED STATES OF AMERICA,           )
                                         )                 Case:
                                                            Case:2:10-cr-547-RLH-PAL
                                                                  2:09-cr-547-RLH-PAL
 9                     Plaintiff(s),     )
                                         )                             ORDER
10         vs.                           )                 (Motion for Appointment of Counsel
                                         )                  Pursuant to 18 U.S.C. § 3582(c)(2)
11   JOHN SKOOG,                         )                  – #900)
                                         )
12                     Defendant(s).     )
     ____________________________________)
13

14            The Court has been advised that Defendant may be eligible for discretionary relief pursuant

15   to 18 U.S.C. § 3582(c)(2), and concludes that the appointment of counsel if appropriate. Accord-

16   ingly,

17            IT IS HEREBY ORDERED that Jonathan Powell, Esq. is appointed as counsel to represent

18   the Defendant.

19            IT IS FURTHER ORDERED that the Probation Office shall provide counsel for the

20   defendant and the government with the Defendant’s Presentence Report; shall generate the

21   Defendant’s current Inmate Profile (also known as a “Sentry Report”); and shall prepare a

22   Supplemental Presentence Report addressing whether, in the Probation Office’s assessment, the

23   Defendant is statutorily eligible for a sentence reduction pursuant to Guidelines Amendment 782,

24   and further advising the Court of the applicable and recommended guideline range. The Probation

25   Office will serve the Presentence Report and Supplemental Presentence Report on Defendant’s

26   Counsel, the United States Attorney, and the Court, and shall be prepared to meet and confer with
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 1   Defendant’s Counsel and the United States Attorney to discuss the Sentry Report, within thirty

 2   (30) days of the date of this Order.

 3          IT IS FURTHER ORDERED that the United States Attorney or Defendant’s Counsel may,

 4   within thirty (30) days after receiving those Reports from the Probation Office, request that the

 5   Probation Office provide the Defendant’s Progress Report and Disciplinary Records from the

 6   Bureau of Prisons. If the United States Attorney or Defendant’s Counsel makes such a request, the

 7   Progress Report and Disciplinary Records shall be served on Defendant’s Counsel, the United

 8   States Attorney , and the Court within thirty (30) days after receiving the request unless for good

 9   cause the time is extended.

10          IT IS FURTHER ORDERED that Defendant’s Counsel shall, within 120 days of this

11   Order, file any appropriate motion or stipulation. If the Defendant’s Counsel files a motion for a

12   sentence reduction pursuant to Guidelines Amendment 782, the United States Attorney shall serve

13   any response to such motion within thirty (30) days of the filing of that motion unless for good

14   cause the time is extended.

15          Dated: February 9, 2015.

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                                                          ________________________________
17                                                        UNITED STATES DISTRICT JUDGE

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